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                          No. 16-4040
              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE TENTH CIRCUIT




                  THE SCO GROUP, INC., by and through the
                Chapter 11 Trustee in Bankruptcy, Edward N. Cahn,

                                         Plaintiff-Appellant,

                                         v.

                          INTERNATIONAL BUSINESS
                          MACHINES CORPORATION,

                                         Defendant-Appellee.


      On Appeal from the United States District Court for the District of Utah
                         Hon. David Nuffer, Presiding
                          No. 2:03-CV-00294-DAK




    APPELLANT’S UNOPPOSED MOTION FOR EXTENSION OF TIME
       TO FILE APPELLANT’S OPENING BRIEF AND APPENDIX
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         Plaintiff-Appellant, The SCO Group, Inc. (“SCO”), pursuant to Fed. R. App.

 P. 27 and 10th Cir. R. 27.4, hereby respectfully moves the Court for an

 enlargement of forty-five days’ time in which to file its Opening Brief and

 Appendix, and states in support the following:

         1.    Plaintiff-Appellant’s Opening Brief and Appendix are currently due

 on August 1, 2016. This is Plaintiff-Appellant’s first request for an extension of

 time.

         2.    This appeal concerns two summary judgment motions and a motion

 for leave to amend, which were originally briefed and argued between 2004 and

 2007. Prior to resolving the summary judgment motions, the District Court stayed

 the underlying action pending the conclusion of a related action. The related

 matter was subsequently resolved in 2010, and the pending summary judgment

 motions in this action were ultimately resolved in 2016.

         3.    Briefing the issues underlying this appeal requires a review of the

 substantial record in this case. The briefing below included hundreds pages of

 argument and more than 25,000 pages of exhibits. The parties intend to utilize the

 requested enlargement of time in part to attempt to narrow the Appendix materials

 necessary for the Court’s consideration and resolution of the instant appeal.




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       4.       In addition, the issues underlying this appeal are intertwined with

 issues that are not being appealed, and SCO intends to use the time to identify the

 discrete issues that are ripe for review on this appeal and narrow the briefing

 accordingly.

       4.       SCO therefore respectfully requests that the Court set the following

 briefing schedule:

                September 15, 2016        Appellant’s Opening Brief and Appendix

                November 15, 2016         Respondent’s Opposition Brief

                December 22, 2016         Appellant’s Reply Brief

       5.       IBM does not oppose this request.


 Respectfully submitted on this 26th day of July, 2016.


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                           CERTIFICATE OF SERVICE

       I, Edward Normand, hereby certify that on this 26th day of July, 2016, a true

 and correct copy of the foregoing APPELLANT’S UNOPPOSED MOTION

 FOR EXTENSION OF TIME TO FILE APPELLANT’S OPENING BRIEF

 AND APPENDIX was electronically filed with the court and forwarded via

 electronic mail to the following recipients:

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                  CERTIFICATE OF DIGITAL SUBMISSION


       The undersigned certifies with respect to this filing that no privacy

 redactions were necessary. This APPELLANT’S UNOPPOSED MOTION

 FOR EXTENSION OF TIME TO FILE APPELLANT’S OPENING BRIEF

 AND APPENDIX submitted in digital form is an exact copy of the written

 document filed with the Clerk. The digital submission has been scanned for

 viruses with the most recent version of a commercial virus scanning program

 (using Symantec Antivirus which is updated weekly) and, according to the

 program, is free of viruses.


 Dated: July 26, 2016

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